                                                                           CLERKS OFFICE t
                                                                                         J
                                                                                          ,S.DSST. O URT
                                                                                 ATROANOKE
                  IN TH E U N ITED STATE S D ISTRICT COU RT                           F
                                                                                       ILED
                                                                                             ZVA

                  FO R TH E W E STERN D ISTRICT O F W RGIN IA
                           HA RR ISON BU R G D IW SIO N                           DEr jj jj
                                                                              JUL
                                                                             BK              R C RK
 JAM ESA.H EGEDU S,eta1y                                                                 /

                                                                                              Rà(
       Plaintiffs,

 V.                                               CivilAction N o.: 5:17cv53

 N ATIO N STAR M O RT GAGE LLC,
                                                  By: M ichaelF.U rbansld
       D efendant.                                ChiefUG ted StatesDistdctJudge
                             M EM O RAN DU M O PIN IO N

       PlainéffsJamesandVirginiaHegedusrTlninéffs''orfftheHegeduses'),appeating
 p-r-q.
      K ,broughtthisaction againstDefendantNadonstazMortgageLLC O efendant''or
 tfNationstar'),allegingO sconductrelated to Naéonstar'sserdcingofamortgageand the
 subsequentforeclosureon atesidencepreviously owned by Plnindffsin Sussex County,

 D elaware.N aéonstar flled the pzesentM odon to DisnlissforFailuze to Statea Clqim on

 April4,2018.Puzsuantto28U.S.C.j636q$(1)7),thecourtreferredbot.hmoéonsto
 UrlitedStatesMagistrateJudgeJoelC.Hoppeforareportandrecommendadon.After
 hearingoralargumentfrom thepardesonlune26,2018,themagistratejudgerecommended
 granéngNadonstar'smoéonin6111.TheHegedusesflledobjecéonstothereportand
 recom m endation on O ctobez29,2018.

       Forthereasonsstatedbelow,thecourtwillOVERRULE theHegeduses'objecdons,
 AD O PT thereportand recom m endadon to theextentconsistentwith tlaisopinion,and

  G     T N aéonstar'sm odon to disrniss.




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        Rule72$)oftheFederalRulesofCivilProcedurepet-mitsapartytoffserv'eandflle
 specifc,writtenobjections''toamagistratejudge'sproposedfmdingsandrecommendadons
 within fourteen daysofbeing servedwith acopyofthereport.Seealso 28U.S.C.j
 636q$(1).TheFourt.hCizckzithasheldthatan objecéngpartymustdosoffwithsuflkient
 speciûcitysoasreasonablytoalerttheclisttictcourtofthettnleg'
                                                            roundfottheobjecdon.''
 UnitedStatesv.Mid ette,478F.3d616,622(4t.hCir.2007),certdenied,127S.Ct.3032
  (2007).
              To conclude otherwise would de/eatthe putpose ofreqlliting
              objecéons.W ewolzld bepetvnitting apartyto appealanyissue
              thatwas before the magistrate judge,regardless ofthe natute
              and scopeofobjecéonsmadeto themagistratejudge'sreport.
              Either the district courtwould then have to review every issue
              in the magistrate judge's proposed fmdings and
              recom m endations or cout'ts of appeals w ould be required to
              review issues thatthe district court never considered.ln either
              case,judicialresourceswould bewasted and the districtcourt's
              effectiveness based on help from magistrate judges would be
              underm ined.

 J-d.aThedistrictcotzrtmustdetermine7.-qnovoanypordonofthemagistratejudge'sreport
  andrecommendationtowhichaproperobjectionhasbeenmade.fThedisttictcourtmay
  accept,reject,ormodifytherecommended disposiéon;receivefllttherevidence;orreturn
  themattertothemagistratejudgewithinstrucdons.''Fed.R.Civ.P.729$(3);accord28
 U.S.C.j6369$(1).tfGenezalobjectionsthatmerelyreiterateargumentspresentedtothe
 magistratejudgelackthespecificityrequiredunderRule72,andhavethesameeffectasa
  fat
    'lureto object,orasawaiverofsuch objection.''Moonv.BWX Techs.,Inc.,742 F.Supp.
  2d 827,829(W.D.Va.2010)(citingVene v.Astrue,539F.Supp.2d 841,845 (W .D.Va.
  2008)),aff'd,498F.App'x268(4thCit.2012);seealsoThomasv.Arn,474U.S.140,154


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 (198543))rtrRhestatutedoesnotreq'lirethejudgetozeview anissue.
                                                              d<novoifno
 objecéonsareftled.>).
          Futther,objecùonsthatonlyrepeatargumentsraisedbeforethemagistratejudgeare
 considered generalobjecéonsto theentiretyofthereportandrecommendadon.SeeVene ,
 539F.Supp.2dat845.Asthecouttnotediny..tlkty:

                   Allowingalitkantto obtnin 2:novo review ofherentitecase
                   bymerelyteformattinganeatlierbriefasan objecéon ffmakgesj
                   the iniéalreference to the m agistrate useless.The funcdons of
                   the district cotzrt are effecdvely duplicated as 130th the
                   m agistrate and the district court perform idenécal tasks.Tllis
                   duplicadon oftime and effortwastesjudicialresourcesrather
                   than saving them , and runs conttary to the purposes of the
                   MagistratesAct.''Howatd (v.Sec' ofHea1th & Htunan Servsj,
                   932 F.2d (5051,509 g(6th Ciz.1991)j.
  539 F.Supp.2d at846.A plaintiffwho reiterateshispreviously raised argum entswillnotbe

 given ffthesecond biteattheapple(jheseeks.''Id.Instead,hisre-ftled briefwillbetreated
 asageneralobjecéon,whichhasthesameeffectasafailuretoobject.ld.
                                                          II.

          N ationstar'sBriefin SupportofitsM odon to DisnnissPlaintiffs'Am ended Pleading

  arguesthattheDelawareCourt'srulingpreèludestheHegeduses'clsimson 130thresjudicata
  (cllim preclusion)andcollateralestoppel(issuepreclusion)gtounds.lTheHegeduses'
  am ended com plaintaEegesthatN adonstarbreached itsconttactualand good faith

  obligationsby failing to apply theirpaym entsto the loan interestand principalpursuantto

  the term softheagreem ent.zTheitoriginalcom plaintincluded a claim forconversion,


  1Because the courtagreeswit .
                              h thesegrounds,there isno need to addressN adonstar'saltem adve argum ents.
  2Plainéffs'origm
                 ' alcom plaintincluded a variety ofclnim sarising from similazfacts.O fthese cbim s,allweredismissed
  save one cbim forconversion;however,Pbintiffsweregiven leave to am end theirbreach ofcontzactcbim .Order
  Adopting R.& R.,ECF N o.42,1.



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 arising from sim ilarfacts,which sutvived N adonstar'sfststm otion to dismiss.N ationstar

 bringsthepenclingmoéontodisrnissbothclaimsunderRule1241$(6).
                                              A.

        Rule129$(6)oftheFederalRulesofCivilProcedurepev itsapartytomovefor
 disnaissalofa com plaintforfailure to statea clnim upon wllich teliefcan begranted. To

 sutviveamoéontodisnnissunderRule129$(6),theplaindffmustpleadsufhcientfactsffto
 raisea rightto reliefabovethespeculaévelevel'?and ffstate aclnim to teliefthatisplausible

  onitsface.''BellAtl.Co .v.Twombl,550U.S.544,555,570(2007).A plslindff
  establishesfffacialplausibilitf'bypleadingKffacttzalcontentthatallowsthecourttodraw the
 reasonable inference thatthe defendantisliable forthe misconductalleged.''A shcroftv.

 Lqbal,556U.S.662,678(2009).lntnllingona129$(6)moéon,thecourtmustacceptall
 w ell-pleaded allegationsin thecom plaintastrue and draw allreasonable factualinfezencesin

  thelightmostfavorabletotheplaintiff.Ibarrav.UnitedStates,120F.3d472,474(4thCir.
  1997).However,fçgtlhreadbarerecitalsoftheelementsofacauseofaction,supported by
  m ereconclusory statem ents,do notsuffice.''Iqbal,556 U.S.at6789seeW a M ore D o s

  LLC v.Cozart,680F.3d359,365(4thCir.2012)Soldingthecourtffneednotacceptlegal
  conclusionscouched asfactsorunw arranted inferences,unreasonable conclusions,or

  argtzments'')(internalquotadonmarksonaitted).
         In recognidon ofPlaintiffs'pzq .
                                      - K status and the Court's obligadon to hold their

  pleadingsto K<lessstringentstandardsthan form alpleadingsdzafted by lawyers,''the Colxt-t

  willalso considerfactspresented in Plainéffs'opposition briefsand attached relevant

  documents.Ericksonv.Pazdus,551U.S.89,94 (2007)(percutiam)(statingthatadocument


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 flled pz-
      .  qaqmustbeliberallyconstrued);Shomov.A le lnc.,2015W L 777620,at*2
 (W.D.Va.Feb.24,2015)(consideringffboth thecomplaintand thefacttmlallegadonsin
 Shomo'sresponse ...in detertniningwhetherhisclnim scan surdvedismissal7).See
 W itthohnv.Fed.Ins.Co.,164F.App'x395,396(4thCir.2006)@ercuriam)(expbinitng
 thata courtm ay,withoutconveréng am otion to clisrnissinto a m otion forsum m ary

 judgment,Kfconsider...documentscenttalto plaindffsclnim ...solongastheautlaenécity
 ofthesedocumentsisnotdisputed7).Furthetmore,Tfgwjhen theplainéffattachesor
 incop oratesadocum entupon which hiscbim isbased,orwhen the com plaintotherwise

 showsthattheplainéfi-hasadopted thecontentsofthedocllment,':theCouttw.
                                                                      i
                                                                      llcreditthe
 contentsofthedocum entoverconttadictoryallegadonsin the com plaint.G oinesv.Valle

 Cmtp Servs.Bd.,822F.3d 159,167 (4th Cir.2016).
                                                 B.

          The H egeduses'presentcbim sarise from a m ortgageagreem entforpropertythey

 owned in Sussex County,D elaware.Both partiesagreethatthe H egedusesenteted into a

 m ortgagecontract* t.
                     1:FirstH orizon H om eLoan Com otation on the Sussex County

 propertyin 2006.Com pl.,ECF N o.1,2 - 3.N adonstarentered a subserdcing agreem ent

 withFirstHorizon onJune21,2011,taking overforMeGifeBank,thepreviousservicer.
 Am .Com pl.,E CF N o.43,2.Plaintiffswerenodhed ofthe changeon A ugust25,2011 and

 began sending theirm onthly m ortgagepaym entsto N aéonstat.J-da
          The term softhe m ortgage agreem entrequired thatN ationstarapply m ortgage

 paym entsflzstto interest,then to principal,and finally to otherrniscellaneouscharges,

  incluHing esczow item s.Am .Com pl.,ECF N o.43,2.Inidally,N adonstarand Plaindffshad



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 an escêow waiver,butafterconfusion regarcling tax paym entsto the county,theH egeduses

 allege thatN adonstarim pzoperlyrevoked thewaiver,setup an esczow account,and placed a

 poréon oftheirm onthlypaym entsinto the account,thusprevendng the paym entsfrom

 being applied to interestand principaland causing an eventualdefaultin 2013.1d.

       Foreclosure proceedingswere then initiated in the SuperiorCotutofD elawate.See

 BankofN.Y.Mellonv.He edus,C.A.No.515L-12-053O el.Super.Ct.Dec.18,2017).
 Plainéffscontested the foreclostzre;the D elaware caseBank ofN ew Y ork M ellon v.

 He edus(B.N.Y.Mellon)followed.5..
                                 = idsTheDelawareCourtfound thatthemottgage
 agreem entbetv een FitstH orizon and theH egedusesdid initiallyincludean escrow w aiver,

 butthat,fto n M arch 8,2013,N ationstarsentaletlertitled TURG EN T'''to theH egeduse'
                                                                                     s

 infot-mingthem that$140.17 offdsussex Countytaxes,which had been dueon September
 30,2012,...had notbeen paid,''thatthedelinquentpaym entconstitm ed a defaultunderthe

 term softhem oztgage agreem ent,and thatN ationstarnlightfrom there on require the

 Hegedusesto maintain an esczow accountforfuturetaxesandinsurance.Ld.sat1- 2,9.
 N ationstaragain notified theH egedusesofthe delinquency fivew eekslatez,and w atned that

 ifthey did notprovideproofofpaym entwithin 15 days,N ationstarwould advancepaym ent

 and ffestablish an irrevocable escrow account''to preventfuttzre defaults.D ef.'sM em .in

 Supp.Ex.B,ECF No.45-3 O el.Ct.Op.),29- 30.
        TheH egedusesclid notrespond to N adonstar,butdid send paym entto Sussex

 County.D el.Ct.O p.4 - 5.TheH egedusesclid notprovideN adonstarw1t.
                                                                   1:any proofofthe

 tax payment,and so Nationstaralso sentpaymentofthetaxesto thecounty(unawarethat
 thetaxeshad alzeadybeen paid)andrevoked theescrow waiver.J-l.
                                                             L SussexCountyreturned


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 theduplicatepaymentto Nadonstar.LdaTheHegedusesalsoreimbursedNadonstar;this
 m oneywasplaced in thenew escrow account.J-dx

       Beginrlingluly 16,2013,statem entssentto theHegedusesreflected anegativeescrow
 balance,butthe H egedusesconénued to send paym entsreflecdng the pze-escrow m onthly

 billam ount.D el.Ct.O p.4 - 5.Disagteem entsand contenéon conénued,asthe H egeduses

 continued to pay m onthly paym entsthatwereinsufhcientto cover170th the escrow

 paymentsandmonthlyinterestand principal.Ld.
                                           aByluly 2014,theHegeduseswetetwo
 monthsbelaindin mortgagepayments.J-I.
                                     L at5- 6.NadonstarsentaNodceofIntentto

 forecloseifthey did notbringtheamountcurrent.J-dsTheHegedusesdidnotdo so,and

 B.N.Y.M ellon flled forforeclostzre.I.
                                      I.
                                       L

        TheD elaware Courtconcluded thatB.N .Y.M ellon,through N adonstar,had acted

 within the rightsaccotded by them ortgage agreem ent,which pe= itted therevocadon of

 the escrow waiver Tfatany tim e''so long aspropernoticewasgiven,while theH egeduses

 had breached the agreem entby refusing to pay the escrow am ount.D el.Ct.O p.8 - 9.

 JudgmentwasaccordinglyenteredforB.N .Y.M ellon.LdaTheHegedusesappealed;the
 DelawareSupremeCourtaffitmedthettialcourt'sjudgment.He edusv.BankofNew York
 Mellon,190A.3d998(Del.2018),reat llmentdeniedguly25,2018).
        PriortotheDelawarejudgment,on May30,2017,theHegedusesftled thisacdon
 againstN adonstarin tlaiscourt.Com pl.,ECF N o.1.O n April18,2018,N adonstarbrought

 amotiontodisnaissunder129$(6),argaingtheDelawaredecisionptecludestheHegeduses'
 clqim sin thiscase.D ef.M em .in Supp.,ECF N o.48,1.

                                            C.



Case 5:17-cv-00053-MFU-JCH Document 66 Filed 12/11/18 Page 7 of 12 Pageid#: 631
         To assessN aéonstar'spzeclusion argum ent,thecouttm ustdetetnainetheapplicable

 source oflaw .3AIIfederalcout'tsm ustgiveSTIIfaith and creditto valid statecolzrt

 judgments,asrequitedbyfederalstamte.InreGenessDataTechs.lnc.,204F.3d124,127
 (4th Cir.2000).lnprovidingsuch fullfaithand credit,28U.S.C.j1738directsfederalcourts
 torefertothepreclusion1aw ofthestatewheteajudgmentwaszendeted- inthis
 citcum stance,D elawarelaw applies.SeeLQ Statepreclusion1aw appliesunlessan excepéon

 to j1738governs.SeeM arresev.Am .Acad.ofOrtho aedicSur eons,470U.S.373,380
 (1985).
         Federalcourtsapplyat
                            'wo-step processto determinewhetherj1738shouldapply.11.
                                                                                  1
 reG enes sD ataTechs.,204 F.3d at128.A federalcourtm ustflrstask ifstate law w ould

 giveastatecourtjudgmentpreclusiveeffect.Next,thecout'tmustaskifCongresscreated an
 applicableexpressorimplied exception to j1738.
         UnderD elaw arelaw:

         apartyclniming thatthedoctrineof(cl/im preclusion)barsasubsequentacdon must
         demonstzate the presence of ûve elements: (1) the court making the prioz
         adjudicadon had jurisdiction,(2)theparéesin theptesentaction areeitherthesame
         paréesorin privity wit. h the partiesfrom theprioradjuctication,(3)the cause of
         acéon m ustbe the sam ein bot.
                                      h cases orthe issues decided in the prioracéon m ust
         bethesameasthoseraisedin thepresentcase,(4)theissuesin theprioracdon must
         bedecidedadverselyto theplninéff'scontendonsin theinstantcase,and (5)thepzior
         adjudicaéonmustbefinal.
 Baileyv.CityofW ilmington,766A.2d477,481 O el.2001)(percuriam).Followingthe
 hearing on themodon to disrnissand in theitobjecéonstoJudgeHoppe'sReportand
 Recommendaéon,Plqintiffsobjected to theapplicaéon ofclsim pteclusionbyconteséng the

 3Cllim pzeclusionordinatilycannotberesolvedonRule129$(6)moéons,butthecourtmayaddressthisdefense
 becauseallnecessary factsappeareitheron the face ofthe plearlingsorin the state coul'
                                                                                     tdocum ents,ofwhich the cout'
                                                                                                                 t
 maytakejudicialnodce.SeeAndrewsv.Daw,201F.
                                          3d521,524n.1(4thCiz.2000).


Case 5:17-cv-00053-MFU-JCH Document 66 Filed 12/11/18 Page 8 of 12 Pageid#: 632
 secondelement(theidentityand/orprivitybetween thepardesinthefrstacdon andthe
 currentaction),thethitdelementtthesimilatityofthecauseofacdonandissuesinthetwo
 cases),andthehft.helement(thefinalityofthepriorjudgment)oftheanalysis.Each
 objecdonwillbeaddressedinturn.
        First,Plninéffsobjecttotheapplicaéon ofpzeclusionduetotheidentityofthe
 pardes.B.N .Y .M ellon and N ationstarare plainly notthesam e party.Therefore,the cout't

 m ustdeterm ine ifthey arein privity.fTrivityisalegaldetetvninaéon forthettialcouttwith

 regard to whetherthe reladonslkip between thepartiesissuffkiently closeto support

 preclusion.''See1-11 insv.W alls,901A.2d 122,138 O el.Super.Ct.2005)(quoting 18
 JamesW m.Mooreeta1.,M oore'sFederalPracdcej132.04(1j% (3ded.200$).Toassess
 whethertv o partiesare ffsufûciently close''D elawarecourtslook to the parties'interestsand

  askifthey are idendcalorclosely aligned Tfsuch thatthey weteacdvely and adequately

 representedin theflrstsuit.''AvetaInc.v.Cavallieri,23A.3d 157,180 @ el.Ch.2010).
        Plaintiffsarguethereisno ptivity between N aéonstarand B.N .Y .M ellon because the

  two arenotidentical,and furthetargue thatN ationstathasfffailed to ptovide any

  substantiation ofprivity.''The originalm ortgage atissue,however,wasbetween the

  H egedusesand FirstH orizon,and N aéonstazserdced thisloan forFirstH orizon.B.N .Y.

  M ellon acquited them ortgage by assignm ent,with N ationstazstillserdcing.TheH egeduses'

  clnim sagainstN ationstararebased on theitcontendon thattheescrow accountwas

  illegitim ate,and thusN ationstardefendsitselfby cllim ing authority,asB.N .Y.M ellon's

  m ortgageserdcer,to establish the account.In theD elaware case,B.N .Y.M ellon argued its

  rightto pursue foreclostzreagainstthe H egedusesbecause ofpast-due paym entsrelated to a



Case 5:17-cv-00053-MFU-JCH Document 66 Filed 12/11/18 Page 9 of 12 Pageid#: 633
  legifim ately established escrow account.D el.Ct.O p.2.N ationstar'sinterestswerethus

  closely aligned with B.N .Y.M ellon'sinterests.

         TheH egedusesftutherclnim thattheReportand Recom m endation erred fTby

  changingtheword çinvestor'...to theBankofM ellon gsicj''and thusarguethatffN adonstar
  wasgnot)in pzivitywith Mellon gsicqatthetimeoftheestabishmentofan esczow account.'?
  P1s.'Objs.toR.& R.,ECF No.64,5,9.Nationstarrespondsthatchangingthelabel
  ffinvestor''to thenam e<CB.N .Y.M ellon''doesnotalterthelegalanalysis.N ationstaris

  correct- asservicerforB.N .Y .M ellon,the investorin theH egeduses'loan,N ationstaracted

  onbehalfofthebank.Thesimilarityoftheissuesargued (Naéonstar'srighttoestablishthe
  escrow accountand thebank'srightto thereafterforecloseforescrow deficiencies)leadto
  the conclusion thatN ationstar'sinterestsw ere activelyand adequately represented in the

  flzstsuit.The two partiesaze in privity,sadsfying thiselem entofthe preclusion analysis.

         N ext,Plaintiffsazgue thatthetwo cases'causesofacdon arenotsuffkiently sim ilar

  to watrantpreclusiveeffect.In deternnining tlnis,D elaware courtsfollow atransacdonal

  approach in which clnim preclusion m ay Ttbeinvoked to barlitigation...iftheclnim sin the

  laterlitigation arosefrom the sam e transacéon thatfotm ed thebasisofthe prior

  adjudication.''RBC Ca italMkts.LLC v.Educ.LoanTr.1V,87A.3d632,645@ el.201$.
  Allissuesw hich rnighthave been zaised and decided in the ftrstsuitareprecluded,notonly

  thoseissuesthatw ere decided.JA TheH egedusesargue thatthe D elaware case concerned
  paym entofam oztgage,w hile <ftheVitgt
                                       'm'a suitaddressesthe servicing dehcienciesof

  Nationstat.''SeePls'ObjstoR.&.R.,ECF64,4- 5.Thesameconttactunderliesboth
  cases,however,and 130th casesdealwit.h N ationstar'sauthorityto establish an escrow



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  account.Theissuesraised in thiscase could certoinly havebeen raised and argued in the

  D elawarecase- indeed,m any were.Tlkiselem entissadsûed.

        Finally,Plaindffsarguethatthe D elaware Court'sdecision isnotyetfinalasthey ffare

  stillputsuingthevacation''ofthejudgment.Pls'ObjstoR.&.R.,ECF 64,2.TheSupreme
  Coul'tofDelawazeholdsthatffgijfthelanguageofthejudgmentevidencesthejudge's
  intenéonthatthejudgmentbefinal,thenthejudgmentisfinal.''Pllzmmezv.R.
                                                                     T.Vanderbilt
  Co.,49A.3d1163,1167(Del.2012).WhetherthejudgmentisSnalffdependson(whether
  thejudgehasorhasnotclearlydeclared hisintenéon in thisrespectin hisopinion.'''Id.
        TheDelawateCourtgzanted judgmentin favorofB.N.Y.Mellon,entered judgment
  againstthe H egeduses,and awarded dam agesto B.N .Y.M ellon.See D el.Ct.Op.8- 9.

  Plainéffsdid appealtheD elaw are Court'sdecision,butthetaking ofan appealactazally

  supportsafnclingthatthejudgmentisEnal.Pla texFamil Prods.Inc.v.St.PaulS 1us
  LinesIns.Co.,564A.2d681,684n.2O el.Super.Ct.1989)rfrllheCourtsofthisstatehave
  iridicated...thatjudgmentson appealatefinalforèreclusionqpumoses.Tlnisisclearlyso,
  else theincentive would be forthe losing party ...to sim ultaneously appealand ftlesuitin

  anotherjutisclicéon,hopingforaninconsistentverdict.''(internalcitationomittedl).The
  DelawareCourtjudgmentwasfinalwhentheDelawareSupremeCouttacceptedPlaindffs'
  appeal.Addidonally,thepublicdocketreflectsthatthettialcourt'sjudgmentwasaffsrmed
  onJuly 25,2018.SeeBank ofN.Y.M ellon,C.A.N o.S15L-12-053.Finalityisestablished.
                                              111.




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        Thecaseathand isprecluded.Therefore,the courtrulesnow to OVE RRU LE the

  Hegeduses'objecdons,ADOPT thereportandrecommendadontotheextentconsistept
  with thisopinion,and GRAN T D efendant'sm odon to disrniss.

        An appropriate orderwillbe entered thisday.

                                         Entered:D ecem ber11,2018


                                      /+f       w'- ,
                                                    J .
                                         M ichael . rbanski
                                         Claie nitedStatesDistdctludge




                                           12
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